






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00496-CR







Christopher Rodriguez, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY


NO. 571-710, HONORABLE MIKE DENTON, JUDGE PRESIDING






PER CURIAM

This is an appeal from a judgment of conviction for assault.  Sentence was imposed
on June 18, 2001.  There was no motion for new trial.  The deadline for perfecting appeal was
therefore July 18, 2001.  Tex. R. App. P. 26.2(a)(1).  

Notice of appeal was filed on August 28, 2001.  On the same date, a motion for
extension of time for filing notice of appeal was filed in the trial court.  This motion was both
untimely and filed in the wrong court.  Tex. R. App. P. 26.3.  Under the circumstances, we lack
jurisdiction to dispose of the purported appeal in any manner other than by dismissing it for want of
jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918
S.W.2d 519, 522-23 (Tex. Crim. App. 1996).  If appellant believes that he has been unlawfully
deprived of his right to appeal, he may seek relief by writ of habeas corpus.


The appeal is dismissed.


Before Justices Kidd, Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   October 4, 2001

Do Not Publish


